

People v Murray (2024 NY Slip Op 03714)





People v Murray


2024 NY Slip Op 03714


Decided on July 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 3, 2024

PRESENT: SMITH, J.P., LINDLEY, CURRAN, BANNISTER, AND MONTOUR, JJ. (Filed July 3, 2024.) 


MOTION NO. (78/22) KA 19-00970.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDURELL MURRAY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








